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            Case 9:22-cv-81294-AMC Document 36 Entered on FLSD Docket 08/30/2022 Page 1 of 10




                             IN TH E U N ITED STAH S D ISTRICT CO URT FO R TH E
                                      SO UTH ERN D ISTRICT O F FLO RID A
                                                                                      FILED BY / c j'        () c
                DONALD J.TRUM P,
                                                  Plaint? X0.9:22-G -81294-AM C             A16 S0 2022 !.
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                                                                                           jtujutrE.jjjyrj
                        v.                                                                  .z.oyvh.-w.nJ
                                                                                          - -,

                                                            D ated:August29,2022
                LJN ITED STATES OF AM ERICA,
                                                                                 h'
.

                                                            JURY TRIAL DEM ANDED
                                                Defendant               '

        i        M OVA N T-INTERV EN O R (PRO SEI-llA IK .PATEL'S M O TIO N TO ALTER OR
        I               A M EN D IUD GM EN T A T D KT.30,U ND ER FED .R.CIV.P.59(e),
                    O R M OTIO N FO R RELIEF FRO M IU D G M EN T O R O RD ER AT D KT.30.         -


                                            U N D ER FED .R .C IV .P.60
        I

                     1,T.E.,T.E RAJK .PATEL,the undersigned m ovant-intervenorprO se,in the above-
               nam ed case,hereby m ove this United States DistrictCourtfor the Southern Districtof

        I      FloridatoalteroramenditsjudgmentatDkt.30,basedonthismotionbecauseitincludes
               areply toPlaintiff'sDkt.28,orthe grantrelieffrom ajudgmentororderatDkt.30,also
        h      based on thism otion because thism otion includes a reply to Plaindff'sD kt.28.
        I
        !
        I            w l-mltEAs;the supplem entalfiling atDkt 28 contains an elaboraûon ofsubject-
                                                               .




               matterjurisdictionon theFourth Amendmentagainsttmlawfulsearc.hand seizuresand
               castle doctrinè asapplied to the M ar-a-Lago;and,
                     W HEREAS,1use m y ConstitutionalPrivileges,honors,and rightsofknow ing from
    .
               my undergraduate and 1aw school,juris doctor candidacp educations and polidcal
               officesand from reading law outsideofform alschoolM g forthew riting and discussions,
               ar> m ents,and m otionsofthese filings,seeD kt.21 at5 & 20;and,
        I

                     W HEREAS,Fed.R.Civ.P.24 allow s foreitherintervention by rightorperm issive
        i      intervention and shareswith them ain action a''comm on quesdon of1aw orfact''orthat
        I

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Case 9:22-cv-81294-AMC Document 36 Entered on FLSD Docket 08/30/2022 Page 2 of 10




   Ihave''ininterestrelatingtothepropertyortransactionthatisthesubjectoftheactionz''
   w hich also includes ''im penetrable shield'' of castle doctrine applied to form er
   Presidents-H eadsofState and theM ar-a-l-ago,w herethePresidendalRecordsw erekept,
   unlikein theO1d W orldwherethehead ofstate,TheSovereign/lieKing/TheQueen
   w ho is Com m ander-in-chief, ow ned the castles of form er heads of state and other
   incum bentroyalsand nobility and head ofgovernm ent,and that,here,severably and in
   addition,PresidentBiden should have directly acted asCom m ander-in-chieforused the
   SecretService to enlorce and seek rekievalofthe docum ents,and thatallow ing current

   proceedings without intervention will be prejudicial to me,the movant-intervenor,
   becausethisCourt'sholding willcreateaprecedentialholdin: which canbeextended or
   aPPlied to m e, in m y current capacity as form er elected excellent local presidendal

   official,and m y futureproperty interestin the transaction ofholding thePresidency and

   theipsofactoofficeoftheformerPresidentand itsresidqnceand officelocationswhich
   w illbe also beeffected by castle doctrine and notallow ing intervention can barm e from

   re-lidgatingmy comm on questionsof1aw orfactorrelatedinterestsin theproperty (titles
   of''T.H .(T.E.)Presidentg''castledoctrine,etc.) ortransaction (collection ofPresidential
   Records Act-protected docum ents,use ofspecialagents ofthe F.B.I.rather than Secret

   Serviceormilitary)through resjudicata;seePatelv.UnitedStates,No.1:21-cv-02004-LAS
   (C.F.C.202-),Dkt.1at34-5,Pet.forW ritofCertvPatelv.UnitedStates,No.22-5280(U.S.
   202-   ),U.S.const.amend.lV,42U.S.C.jj 1981-2& 2000bb efseq.,44U .S.C.jj2201etseq.,
   seeLangep.Calfornia,141S.Ct.2011,2023(U.S.2021)and Carpenterp.UnitedStates,138
   S.Ct.2206,2239-40,2260,2263-4 (U.S.2018),seealsoLucky BrandDungarees,Inc.v.M arcel
   FashionsGroup,Inc.,140S.Ct.1589 (2020),Bravo-Fernandezp.United States,137S.Ct.352
   (2016),see U.S.const.art.VI,j 1 referring to the Treaty of Paris (1983)(incumbent
   M onarch rem ainsthe AbsoluteoftheUnited States),Comp:.on Judiciaryr.M cGchn,415

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Case 9:22-cv-81294-AMC Document 36 Entered on FLSD Docket 08/30/2022 Page 3 of 10




   F.Supp.3d 148, 154 (D.D.C.2019) oackson, J.) (''DOJ Promotes a conception of
   separation-of-pow ers prindples that gets these constitudonal com m ands exactly
   backw ards. In realitp itis a core tenetofthis N adon's fotm ding thatthe pow ers ofa
   m onarch m ust be split betw een the branches of the governm ent to prevent

   tyratm y...l-lere,onceagain,DOJcallson separation-of-powersprinciplestodow orkthat
   the Fram ers never intended. Indeed,the entire point of segregating the pow ers ofa
   m onarch into the three differentbranchesofgovernm entw asto giveeach branch certain

   authority thatthe othersdid notpossesso..v),Federalist69 (''There isevidently a great
   inferiority in the power of the President.v), and compare Federalistfkpers (drawing
   distincdon ofstate,w hich isaform eiPresidentand possibly som e 1aw enforcem entsuch

   asSecretService,and government,which isDOJ-F.B.I.)with U.S.const.art.1,j 8,c1.17
   (''seatofGovernm entv);and,
         W HEREAS, the aforesaid is also protected by the executive Privilege and Due
   Process and security clearances as applied to form er Presidents,per the United States
   Constitution,the PresidentialRecordsA ct,and otherActsofCongress,U .S.const.art.lV,

   j 2 & amend.v,44 U.S.C.jj 2201 etseq.,Patelv.United States,No.1:21-cv-02004-LAS
   (C.F.C.202-),Dkt.1at23,para.no.XW (incltldessöcialsecurity num ber),Patelp.United
   States,No.22-1131(Fed.Cir.M ay 19,2022),ECF 40at54(includessocialsecuritynumber
   included inW hiteHousecorrespondence),and Pet.forW ritofCertvPatelp.UnitedStates,
   N o.22-5280(U.S.202-/ and,
         W HEREAS,based on the Plaintiff'ssupplem entalfiling atDkt.28,the m ain acdon

   mightbesubjecttothePoliticalQuestionDoctrine,asDkt.21at15-18statesthatCongress
   m ay nothave had the vested pow ers to enactthe PresidentialRecords Actas a Rule for

   Governm ent,U.S.ionst.art.1,jj 1& 8,cl.14,M cM ahon p.PresidentialAirways,502F.3d
   1331,1351(111 Cir.2007)(quoting Bakerv.Carr,369U.S.186,217(U.S.1962)),Sweenq '
                                                                                f?.

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Case 9:22-cv-81294-AMC Document 36 Entered on FLSD Docket 08/30/2022 Page 4 of 10




      Tucker,375A.2d 698,473 Pa.493,509 (Pa.1977)(ProfessorW echslerdescribed theheart
      ofthe polidcalquestion doctrinew hen hew rote thatapolidcalquesdon existsw hen ''the
      Consdtudon has com m itted to another agency of goverm neht the autonom ous
      determ ination oftheissueraised.''W echsler,Tow ard N eutralprinciplesofConsdtutional

      Law,73Harv.L.Rev.1,7-8 (1959).),butcf.M cGahn,415 F.Supp.at212 & 212,n.33
      (quotingComm.ontheJudiciary,LI.S,HouseofRepresentativesr.M iers,558F.Supp.2d53,
      103(D.D.C.2008)(Bates,J.)(explainingthattheExecutivebranch'sseparation-of-powers
      interest in ''lplresidential autonomy, such as it is,''...so Congress can only use its
      ''historicaloversightfuncuons-l),andseeU.S.const.art.VI,j1referringto theTreaty of
      Paris(1983)(incumbentM onarch remainstheAbsoluteoftheUnited States);and,
            W HEREAS,based on thisCourtorderatDkt.29,the specialm asterand theprivilege
      review team w illrely on the com m on questions and interests raised in m y intervention
      over''any dissem ination ofm aterialsbeyond theprivilegereview team /'seeDkt.29and
      seealsoPet.forW ritofCert.,Patelr.UnitedStates,No.22-5280 (U.S.202-/ and,
            W HEREAS, based on the salient coverage and com m ents from Plaindff and
      Plaindff'sform erpolicy advisorsand fam ily m em bers,aired on television afterthe filing
      of Dkt.28, Plaindff could have been targeted by Defendantas a part of the ''w oke''

      m ovem ent,and burdensmy freeexercise ofreligion,U.S.const.am end.I& 42U .S.C.j
      2000bb-1(c);and,
            W HEREAS,the secretdocum entsgoing forprivilegeteam review underthe special
      m aster include docum ents w ith the m ulticulturalelem entsofidentity politics,am ongst

      existing pardes(e.g.incumbentPresident,Attom ey General,and form erPresident)and
      foreign policy and the contem porarp o ld W orld cotm triesand m onarchs,w ho areeither
 ' H eads oftheir Church or God over their people and descendants in the United States
  '

      who areLoyalto them,and O1d W orld theocracies,including the Holy See (religious

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        I       Case 9:22-cv-81294-AMC Document 36 Entered on FLSD Docket 08/30/2022 Page 5 of 10
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        I
        I          leaderoftheDefendant-presidentBiden)and theSövereign SocialistSecularDem ocratic
                   Republic(also known as''India''or''Hindustanv),w illunduly burden my freeexercise
                   ofreligion,especially since the Defendants and the parties of the m ain action have no
                   reason to burden m y free exeycise and consciousness of H indu religion, a Founding
I                  religion and politicalpow erofthe Am erican Colonies,the Declaradon ofIndependence
I
!                  (1776),during the American Revolution and afterwards in forming the United States
                   Constitudon, and cause m e anxietp as I have secured and hold tw o om nipresent
k
i       :          styles/titles/executiveprivileges,FullFaith & CreditC1.,U.S.const.art.lV,j 1,42U.S.C.
j
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        '
        I          jj 1981-2,seegenerally U.S.const.art.Vl,j 1 referring to Em m a Rothschild,A (New )
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!       !          Economic History ofthe Am erican Revolution'?,91 New Engl.Q.110,110-28 (2018),
i       I
        1          https://doi.org/10.1162/tneq a 00662and seeallM useum oftheAmerican Revoludon,
1       p
'       l
        !          Revo1ution A rotm d the W orld: India and the A m erican Revolution,                   .


        t          https:/kwww am revm useum .org/india-and-l e-american-revolutionw
                                 .                                                 'and,
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                         W HEREAS, state 1aw w hich restricts use of m ilitary pow ers and guarantees
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                   additionalprivacy securitiesfrom the FederalCorustitution to private citizens,including
    I
                   thePlaintiff,M 'izing Tech.Servs.v.BerB hireH athaway Specialty Ins.Co.,22-a -20596-CM A -

                   EGT *5 (S.D.Fla.Apr.14,2022)and seegenerally Fla.const.;and,
                         W HEREAS, m y societal econom ic developm ent interests, from a11 of m y
                   consdtutional capacities,w illbe im paired tm less this Court Mllow s for intervention,

                   contra.Georgia v.U,5.Army Coms of Engineers,302 F.3d 1242,1251 (111 Cir.2002)
                   (econom icinterestwith rightto freely traveland have an abode/castle with m y titles,
                   which are owned by meunder42 U.S.C.j1981-2),U.S.const.art.1V,j2 & am end.XIV,
    'i             j 1;and,
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Case 9:22-cv-81294-AMC Document 36 Entered on FLSD Docket 08/30/2022 Page 6 of 10




         W HEREAS, along w ith the previous,m y right to freely travelw illbe im paired,

   Caterinav.M iller,259F.Supp.131,133(S.D.Fla.1966)(therew illbenotadequateremedy
   in stateorfederalcourtleft),U.S.çonst.art.IV,j2& am end.XIV,j19apd,
         W HEREAS,a11ofthisis aparticularized,actualand im m inentinvasion ofalegally

   protected interestand has affected me ''in a personaland individualwap''Lujan v.
   DefendersofW ildlfe,504U.S.555,555,560,573,577(1992),Corjeldv.Coryell,No.6Fed.
   Cas.546 (C.C.E.D.Pa.1823),In reQuarles& Butler,158 U.S.532,536-37 (U.S.1895),see
   generally18U.S.C.jj241etseq.,42U.S.C.jj1981-2,seealsoSlaughter-HouseCases,83U.S.
   (16W all.)36,71,& 77-79 (1873),and United Statesv.Harris,106 U.S.629,638 & 643-44
   (1883/ and,
         W HEREAS,ascapacity asexcellent,1,themovant-intervenor,have alegalinjury
   since the State or Govem m entis notoperating ConstiG tionally and w ith accord to its

   policp which is an issue here,Federalist 80 (I, as an international enforcer of the
   Constitution,and Privilege & Imm unities Clause,affects the basis ofthe Union)and
   Lujan,504U.S.at555,560,573,& 577;and,
         W HEREAS,the precedendaleffectand consequendalproceedings ofthis case are
   very likely to go before the United StatesSuprem eCourt.

         THEREFORE,lmovethisCourttoalteroramenditsjudgmentatDkt.30underFed.
   R.Civ.P.59(e)orgrantrelieffrom judgmlntatDkt.30underFed.R.Civ.P.60and allow
   intervention.

         W HEREAS, 1, the m ovant-inteN enor, filed a M odon for Jn Forma Pauperis to
   continue in thisdistrictcourtw ithoutpre-paying filing feesatDkt.22;and,
          W HEREAS,there hasbeen no m aterialchange in IFP inform adon since the short
   period ofHm ebetween the filing ofDkt.22 and thisM odon;and,



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           W HEREAS,other federal courts have granted recçntly-filed m otions for leave to

     proceed in form a'pauperis,Patelv.United States,N o.1:22-cv-734-LAS (C.F.C.Aug.12,
     2022),Dkt.7& Patelv.United States,No.22-5280 (U.S.202-/and,
           W HEREAS,thisCourtrejectedmyModon forLeavetoProceedInFormaPauperis
     atDkt.22 on August27,2022,seeDkt.30.

           THEREFORE,ImovethisCourttoalteroramenditsjudgmentatDkt.30underFed.
     R.Civ.P.59(e)orgrantrelieffrom jud
                                      .gmentatDkt.30underFed.R.Civ.P.60andgrant
     m y M odon forLeave to Proceed In Form a Pauperis.

           FURTITER,if this M otion is not persuasive as to either request but this Court
     believes thatintentcould be effectualized,then Im ove thatthe Courtissue an order to

     show cause.ArabianAm.OilCo.v.Scarfone,939F.2d 1472(111 Cir.1991)9Smithv.Select
     PorfolioServicing Inc.,1:22-cv-22499-GAYLES (S.D.Fla.Aug.10,2022/ United Statesp.
     M ichel,No.19-13408 (111 Cir.Oct.22,2020/ Brownv.LJ.S.Patent,226F.App'x866(11th
     Cir.2007/ andJacksonv.Corr.C0m.,606F.App'x945 (111 Cir.2015).
           FURTHER'Im ovethatthisCourt,to aid in presentation ofthiscase and ensure that
 .             '


     1,themovant-intervenor,can avoid any otherprejudicetoeitherthisCourtorhimself,
     appointacourt-appointed counsel(i.e.probono).Smithv.Newsome,876F.2d 11461(111
     Cir.1989)(intrinsically beyond a pro se litigant'sability),Dkt.21at20,and Scheuerp.
     Rhodes,416U.S.232,236 (1974)quoted in Rayv.Proxmire,581F.2d 998,1003-04 (D.C.Cir.
     1978).SeealsoPruittv.CharterCommc'ns,N o.21-10049 (111 Cir.Feb.11,2022).




     * ''(A1 pro se (m otionl,however inartfully pleaded, m ust be held to less stringent
     standards th% form alpleadings drafted by law yers.''EricB on v.Pardus,551 U .S.89,94

     (2007).

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                              Respectfully subm itted,




                              /s/RajK.Patel
                              T.E.,T.E.RajK.Patel(prose)
                              6850 East21stStreet
                              Indianapolis,IN 46219
                              M arion County
                              317-450-6651(ce1l)
                              rajpzolo@gmail.com
                              www.rajpatel.live

                              J.D.Candidate,NotreDam eL.Sch.2015-2017
                              President/studentBodyPresident,StudentGov'tAss'n of
                                 Emory U.,Inc.2013-2014 (corp.sovereign zol3-present)
                              StudentBody President,Brow nsburg Cm ty.Sch.
                                 Corp./president,BrownsburgHigh Sch.StudentGov't
                                 2009-2010 (corp.sovereign 2009-present)
                              Rep.from the N otre D am e L.Sch.StudentB.Ass'n to the
                                 Ind.St.B.A ss'n 2017
                              D eputy RegionalDirector,Young Dem ocratsofA m .-l-ligh
                                 Sch.Caucus2008-2009
                              Co-Founder& ViceChair,Ind.H igh Sch.Dem ocrats2009-
                                 2010
                              VicePresidentofFin.tIndep.l,Oxford C.Republicansof
                                 Em ory U .,Inc.2011-2012


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                             CERTIFICATE 0* SERV ICE

   IcerdfythatIserved acopy oftheforegoing RajK.Patel's(ProSe)M odon toAlteror
   Am end orGrantRelieffrom Judgem enton 08/29/2022 to below individualsvia the e-
   m ail:

   Jam esM .Trusty                             M .Evan Corcoran
   IFRAH ,PLLC                                 Silverm an,Thom pson,Slutkin,& W hite,
   1717PennsylvaniaA ve,N W ,Suite 650         LLC
   W ashington,DC 20006                        400 EastPrattStreet,Suite 900
   202-852-5669                                Baltim ore,M D 21230
   jtrusty@ifrahlawycom                        410-385-2225
                                               ecorcoran@silverm anz om pson.com
   Lindsey H alligan
   511SE 51 Avenue                             Juan Antonio Gonzalez
   FortLauderdale,Florida 33301                LJN ITED STATES ATTORN EY
   720-435-2870                                99 N E 41 Street,81 Floor
   lindseyhalligan@outlook.com                 M iam i,F133132
                                               Telephone:(305)961-9001
                                               juan.antonio.gonzalez@usdoj.gov
                                               Jay 1.Bratt,Chief
                                               Counterintelligence & ExportControl
                                               Section N at'lSecurity Div.
                                               950 Pennsylvania Avenue,N W
                                               W ashington,D .C.20530
                                               (202)233-0986
                                               jay.brattz@usdoj.gov



   Dated:August2% 2022
                                  Respectfully subm itted,



                                  /s/RajPatel
                                  T.E.,T.E.RajK.Patel(ProSe)
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